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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                 )
    UNITED STATES OF AMERICA,                    )
                                                 )      Criminal No. 1:22-cr-00200-APM
                      v.                         )
                                                 )
            PETER K. NAVARRO,                    )
                                                 )
                 Defendant.                      )
                                                 )


  DEFENDANT PETER K. NAVARRO REPLY IN SUPPORT OF MEMORANDUM IN
                        AID OF SENTENCING 1




       1
           Earlier today, January 22, 2024, the government sought leave of court to file a sixteen
(16) page response to Dr. Navarro’s Sentencing Memorandum. Claiming “new arguments” and
the purported existence of a “wholly independent motion,” the government sought leave at
literally the 11th hour to triple the number of pages in its response. Accordingly, Dr. Navarro
respectfully reserves the right to oppose the government’s 11th hour request and/or additional
time to respond to the government’s lengthy submission without leave of Court.
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       As the Supreme Court observed nearly a Century ago:

       The United States Attorney is the representative not of an ordinary party to a
       controversy, but of a sovereignty whose obligation to govern impartially is as
       compelling as its obligation to govern at all; and whose interest, therefore, in a
       criminal prosecution is not that it shall win a case, but that justice shall be done.
       As such, he is in a peculiar and very definite sense the servant of the law, the
       twofold aim of which is that guilt shall not escape or innocence suffer. He may
       prosecute with earnestness and vigor -- indeed, he should do so. But, while he
       may strike hard blows, he is not at liberty to strike foul ones. It is as much his
       duty to refrain from improper methods calculated to produce a wrongful
       conviction as it is to use every legitimate means to bring about a just one.

Berger v. United States, 295 U.S. 78, 88 (1935). The government here betrays its duty of

impartiality in seeking the Court’s sentence of Dr. Navarro. Consider, for example, its ask that

Dr. Navarro be forced to pay a fine of $200,000. See Memo., at 20 (Jan. 18, 2024) (ECF No.

159). The government sought such a fine in the sentencing of Stephen K. Bannon as well, but

was reminded by Judge Nichols that the U.S. Sentencing Guidelines (“USSG”) place a ceiling of

$9,500 on any fines assessed of Mr. Bannon (based on his guidelines range) and that even if the

government seeks an upward variance, the higher fine needs to be tied to the offense. See

Sentencing Tr., at 23:6-9, United States v. Bannon, No. 21-cr-670 (D.D.C. Oct. 21, 2022) (ECF

No. 159-1) (“Mr. Cooney: . . . We were inartful in our sentencing memorandum. The guidelines

range fine is exactly what you articulated, $1,000 to $9,500. The range would be 1,000 to

100,000 under the statute.”). 2 It would seem the government was inartful again. 3


       2
         Briefly, 2 U.S.C. § 192 has a statutory maximum fine of $1000. The government
acknowledges this, but states that 18 U.S.C. § 3571(b) presumptively raised the statutory
maximum fine to $100,000. See Memo., at 11-12 (Jan. 18, 2024) (ECF No. 159). Dr. Navarro
objects to the constitutionality of this reading of § 3571(b) insofar as it restricts the power of
future Congresses. See United States v. Eisenberg, 496 F. Supp. 2d 578, 581-82 (E.D P.A. 2007)
(“The 100th Congress’s ability to restrict the power of future Congresses (by requiring them if
they desire to set a lower fine level, to, in addition to setting the lower fine level, specifically
exempt the statute from § 3571) is suspect.”).
       3
        The government went on to argue that a variance from the Guidelines was warranted
Continued…
                                                  2
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       The government’s betrayal is manifest of its true motive – the prosecution of a senior

presidential advisor of a chief political opponent. By way of a second example, consider the

position taken by the Department – representing one United States – in its litigation against Dr.

Navarro for allegedly refusing to return purportedly presidential records to the National

Archives and Records Administration under the Presidential Records Act. 44 U.S.C. §§ 2201-

2209. Here, the government claims that Dr. Navarro’s work related to the 2020 Presidential

Election could only have been conducted in his personal capacity. 4 Yet there, because it suits

their interests, the government recently asserted – originally under seal – that Dr. Navarro, and

the Administration of President Trump, could very well have worked to ensure election integrity

as part of his official duties. See Notice, at 4 (Dec. 29, 2023) (ECF No. 35) (“However, the

United States has not taken the position that every action that Defendant took in connection

with the 2020 Presidential Election was done in his personal, and not official, capacity; nor has

the United States taken the position that any communications related to the 2020 Presidential

Election are not Presidential records.”).

       Returning to the seminal legal issue presented by this case, the government again

betrayed its duty of impartiality by fastidiously avoiding the novel legal question presented by



based on Mr. Bannon’s conduct? See id. 23:16-19 (“The Court: . . .but the government is
advocating for a. . . variance on the fine?” “Mr. Cooney: Exactly correct.”); id. at 25:12-25, 26:1-
2, 26:3-12 (“The Court: And doesn’t the appropriate fine really have to be tied to the offense?”
“Mr. Cooney: Yes. . . . The Court: How is a $200,000 warranted here in light of the guidelines
range?” “Mr. Cooney: Because it amplifies his contempt for the criminal justice system.”); id. at
76:3-8 (“The Court: And I will impose a sentence of four months of incarceration. . . along with
a fine of $6,500, which is essentially the same ratio of 4 months is to 6 months as $6500 is
approximately to $9500. . . $9500, again, is the top end of the fine range.”).
       4
         Inter alia, the government took the following position in a colloquy with the Court:
“The Court: So your view is, for example, the piece about the Green Bay Sweep because it had
to do with the campaign and the election could not have possibly been in his official capacity. . . .
Mr. Hulser: Yes, judge.” H’rg T., at 48:4-8 (Nov. 4, 2022) (ECF No. 64).

                                                 3
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Dr. Navaro’s prosecution: whether a former senior presidential advisor could be constitutionally

prosecuted for contempt of congress. Despite taking more than 45 days to brief the question

without actually providing any answer, it was only when the Court pressed for a response at a

hearing months later that one was given. Now, despite acknowledging such a prosecution does

implicate constitutional concerns, the government forces this Court to “wade into these

judicially uncharted constitutional waters,” Order, at 3 (Jan 19, 2023) (ECF No. 4), and punish

Dr. Navarro for raising these issues. The undeniable reality is that for more than 50 years, the

Department has not prosecuted a former senior presidential advisor and there is reason to

believe Dr. Navarro will be the only former senior presidential advisor ever prosecuted with this

offense. Indeed, because the Court finally forced the Department to confront a question that had

heretofore gone unanswered by either O.L.C. or any Court this case will serve as a roadmap to

the resolution of future disputes between our separate but co-equal Branches of government.

      Put differently, the only reason this Court is compelled to deliberate any sentence for Dr.

Navarro is because of the failure of political adversaries to communicate. “Historically,

disputes over congressional demands for presidential documents” have not involved the courts

but, instead, ‘have been hashed out in the hurly-burly, the give-and-take of the political process

between the legislative and the executive.’” Trump v. Thompson, 20 F. 4th 10, 25 (D.C. Cir.

2021) (quoting Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2029 (2020)). And so it was, more

than 40 years ago, that Judge John Lewis Smith wrote: “The difficulties apparent in prosecuting

Administrator Gorsuch for contempt of Congress should encourage the two branches to settle

their differences without further judicial involvement. Compromise and cooperation, rather

than confrontation, should be the aim of the parties.” United States v. U.S. House of

Representatives, 556 F. Supp. 150, 153 (D.D.C. 1983) (dismissing the action declaratory



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judgment action by the Department of Justice as, “an improper exercise of the discretion

granted by the Declaratory Judgment Act, 28 U.S.C. § 2201”).

       And yet not once – not one time – did either Congress or the Department of Justice

contact former President Trump to either ascertain his position on whether he desired to assert

privilege with respect to the subpoena issued by the Select Committee to Dr. Navarro. 5 Now,

the Department of Justice thrusts this Court – the Judicial Branch – into the fray by demanding

that it “punish” Dr. Navarro for his failure to comply with the Select Committee’s subpoena –

compliance this Court found to be born of an understanding that he was duty-bound not to

comply: “And whether [the government] think[s] the President invoked [executive privilege] or

not here, [Dr. Navarro] thought he invoked. . . . I don’t know that anybody would really dispute

that Dr. Navarro thought he was supposed to invoke.” Hr’g Tr., at 119:18-23 (Aug. 28, 2023)

(ECF No. 148). See also Comm. on the Judiciary v. McGahn, 415 F. Supp. 3d 148, 213 n.34

(D.D.C. 2019). This brazen showing of a lack of impartiality contravenes the admonition of the

Court in United States v. Tobin, 306 F.2d 270, 276 (D.C. Cir. 1962) (“Especially where the

contest is between different governmental units, the representative of one unit in conflict with

another should not have to risk jail to vindicate his constituency's rights.”).

       The government further betrays its duty of impartiality in its interpretation of the

applicable guidelines. Appendix A of the U.S. Sentencing Guidelines (“USSG”) plainly directs



       5
          The Court similarly acknowledged some responsibility was owed by Congress. See
Hr’g Tr., at 120:2-9, 19-25, 121:1-2 (Aug. 28, 2023) (ECF No. 148) (“The Court: [S]houldn’t we
at least demand more of Congress before we subject somebody to contempt after they’ve
invoked a Presidential communications immunity or privilege? . . . So if Congress itself makes a
determination that privilege does not apply without resorting to a federal court to confirm that
determination, a former senior advisor who was following the instruction of . . . the former
President is automatically subject to [or] potentially subject to criminal contempt; is that right? I
mean, that’s where we find ourselves so clearly that’s what the Department of Justice thinks.”).

                                                  5
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the Court to Guideline §§ 2J1.1 and 2J1.5. See USSG Appendix A (“This index specifies the

offense guidelines section(s) . . . applicable to the statute of conviction.”). § 2J1.1, in turn, now

provides only a cross-reference to § 2X5.1, which applies only to felony offenses. 6 § 2J1.5, on

the other hand, applies both to felonies and misdemeanors and recommends a base offense level

of four (4), for the latter. See USSG § 2J1.5(a)(2). Leary of this outcome, the government

instead argues that § 2X5.1’s comment 3 requires the application of § 2X5.2, based on the

following language: “This guideline applies only to felony offenses not referenced in Appendix

A (Statutory Index). For Class A misdemeanor offenses that have not been referenced in

Appendix A, apply § 2X5.2 . . . .). The problem with the government’s logic is that 2 U.S.C. §

192 is referenced in Appendix A.

       Finally, the government betrays its duty of impartiality by misrepresenting Dr. Navarro’s

acceptance of responsibility. Asserting that Dr. Navarro never sought to, “comply with his

obligations” under the Select Committee’s subpoena, the government ignores that Dr. Navarro

offered to resolve this prosecution in exchange for providing information to the Select

Committee after confirming former President Trump’s waiver of privilege, offered to avoid a

trial by agreeing to a stipulated bench trial and, ignores that when asked if Dr. Navarro could

cure his default, the government advised the Court that he could not. Hr’g Tr., at 79:19-22

(June 21, 2023) (ECF No. 090). Clearly Dr. Navarro is entitled to a two (2) level reduction

given that the only reason he proceeded to trial was to preserve important constitutional issues.

USSG § 3E1.1 commt n.2.

                                [SIGNATURE ON NEXT PAGE]

       6
         Also of note, the original language of § 2J1.1 was not limited to just felonies. The
original guidelines, promulgated in 1987, provided: “If the defendant was adjudged guilty of
contempt, the court shall impose a sentence based on stated reasons and the purposes of
sentencing set forth in 18 U.S.C. § 3553(a)(2).” USSG Amendment 170 (1989).

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Dated: January 22, 2024           Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE
       On January 22, 2024, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties. .

                                             Respectfully submitted,

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